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                 Exhibit 15
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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
   ____________________________________
                                             )
   DAN ROBERT and HOLLIE MULVIHILL )
                                             )
                  Plaintiffs,                )
                                             )
                  v.                         )  Civil Action No. 1:21-cv-02228-RM
                                             )
   LLOYD AUSTIN, in his official             )
   capacity as Secretary of Defense, et al., )
                                             )
                  Defendants.                )
   ____________________________________ )

                        DECLARATION OF CAPTAIN DAREK WILCOX

          I, Captain Darek Wilcox, hereby state and declare as follows:

          1.      I am currently employed by the U.S. Army as the Commander of Alpha Company,

   2-19th Infantry Battalion, 198th Infantry Brigade, located at Fort Benning, Georgia. Alpha

   Company is a basic training unit with the mission to transform civilians into disciplined infantry

   Soldiers that possess the Army values, fundamental Soldier skills, physical fitness, character,

   confidence, commitment, and the warrior ethos to become adaptive and flexible Soldiers ready to

   accomplish the mission of the infantry. I am also the Commander Headquarters and Headquarters

   Company, where much of the Battalion staff and cadre are assigned. I have held these positions

   since July 2021. In this capacity, I command approximately 275 Soldiers and trainees. This

   declaration is based on my personal knowledge as well as knowledge made available to me in the

   course of my official duties.

          2.      I am generally aware of the allegations set forth in the pleadings filed in this matter.

   Staff Sergeant (SSG) Dan Robert is a U.S. Army Drill Sergeant assigned to Alpha Company and
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   falls under my immediate command. 1 He has held this position since July 2020. As part of his

   duties, SSG Robert is responsible for the training, leadership, discipline, physical conditioning,

   and welfare of sixty infantry-training Soldiers. He is responsible to perform similar duties for

   roughly one-hundred twenty Soldiers annually. In the execution of his duties, SSG Robert has

   daily interaction and close contact with Soldiers which includes, at times, hands-on instruction as

   he trains them in basic rifle marksmanship and physical training, conducts situational field training

   exercises, and directly participates in all other areas of their twenty-two-week training cycle. This

   includes indoor classroom instruction, drill and ceremony, and other close-quarter activities. SSG

   Robert is also assigned to mentor, supervise, and develop three junior Drill Sergeants. 2

          3.      As of the date of this declaration, SSG Robert has declined to receive the mandatory

   COVID-19 vaccination. On September 9, 2021, I counseled SSG Robert in writing to inform him

   of the recent COVID-19 vaccination mandate. I instructed him that additional guidance was

   forthcoming, including the process for submitting requests for exemptions. In the meantime, I

   provided SSG Robert with resources regarding the COVID-19 vaccine. On that date, SSG Robert




   1
     I am aware that the original complaint in this case states that SSG Robert is a Drill Sargent [sic]
   and infantryman currently on active duty stationed at Fort Bragg, North Carolina, Compl. ¶ 1,
   ECF No. 1, and that the amended complaint and second amended complaint both state that he is
   an infantryman currently on active duty stationed at Fort Bragg, North Carolina, Am. Compl. ¶
   1, ECF No. 18, Second Am. Compl. ¶ 1, ECF No. 29. However, it is my understanding that there
   are no Drill Sergeants at Fort Bragg, North Carolina. It is also my understanding that SSG Robert,
   the named plaintiff in this case, falls under my command at Fort Benning, Georgia, as he informed
   me of such, and submitted a copy of the original complaint bearing his name as an enclosure to his
   COVID-19 vaccination exemption request, discussed further below.
   2
     Due to an unrelated surgery, SSG Robert has been performing administrative duties in the
   entrance area of the Alpha Company headquarters building. He shares a single desk with a
   civilian employee, which is located in close proximity to three offices within the building and a
   nearby conference room. Over the course of an average day, SSG Robert comes into close
   contact with approximately fifteen Soldiers, including myself, my Executive Officer, and all of
   the Drill Sergeants on duty.
                                                     2
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   acknowledged the counseling and indicated that he intended to request an exemption.               On

   September 28, 2021, I again counseled SSG Robert in writing and ordered him to comply with the

   order to become fully vaccinated no later than December 15, 2021. That same day, SSG Robert

   acknowledged receipt of my order and submitted a statement outlining his specific points of

   disagreement. He also submitted a request for a temporary administrative exemption based on his

   status as a plaintiff in this lawsuit. Attached to his exemption request were copies of the original

   complaint, dated August 17, 2021, and Army Regulation 40-562, Appendix C. At this point, I am

   waiting for additional guidance regarding SSG Roberts exemption request. Until final action has

   been taken on SSG Roberts exemption request, no adverse administrative action will be taken

   against him. Likewise, he will not be involuntarily immunized under any circumstances.

          4.      To date, SSG Robert has not been subjected to any adverse employment action,

   discipline, or differential treatment based on his vaccination status. Specifically, I have not denied

   any request by him to take leave, I have not ordered him to eat separately from others in the military

   dining facility, and I have not criticized him for his decision regarding vaccination. Nor have I

   received any allegations that anyone else has done so. Under the Armys implementation order,

   SSG Robert, and all other Soldiers, must continue to comply with existing Department of Defense

   and Army guidance for force health protection measures applicable to unvaccinated Soldiers. SSG

   Robert will not be subjected to any preferential or differential treatment in this regard.

          ***************************

          Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true
   and correct.

          Executed on November 19, 2021, in Fort Benning, Georgia.




                                                     3
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                                        Darek Wilcox
                                        Captain, U.S. Army
                                        Commander, A Company/HHC
                                        2-19th Infantry Battalion
                                        198th Infantry Brigade
                                        Fort Benning, Georgia




                                        4
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